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   8   GRUMPY CAT LIMITED
   9
                                UNITED STATES DISTRICT COURT
  10
             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
  11

  12

  13   GRUMPY CAT LIMITED, an Ohio                    Case No: 8:15-cv-02063-DOC-DFM
       Limited Liability Entity,
  14                                                  PLAINTIFF GRUMPY CAT
                   Plaintiff,                         LIMITED’S REPLY ISO MOTION
  15                                                  FOR ATTORNEY’S FEES
  16         vs.
                                                      [Declaration of David B. Jonelis filed
  17   GRENADE BEVERAGE LLC, a                        concurrently herewith]
       California Limited Liability Company;
  18   PAUL SANDFORD, an individual;
  19
       NICK SANDFORD, an individual; and              Date:       July 23, 2018
       DOES 1-50,                                     Time:       8:30 A.M.
  20                                                  Crtroom:    9D
                   Defendants.
  21                                                  Case filed: December 11, 2015
       PAUL SANDFORD, an individual;                  FPTC:       December 18, 2017
  22   NICK SANDFORD, an individual; and                          8:30 a.m.
  23   GRUMPY BEVERAGE, LLC, a Texas                  Trial date: January 16, 2018
       Limited Liability Company,                     Judge:      Hon. David O. Carter
  24
                   Counterclaimants,
  25         vs.
  26
       GRUMPY CAT LIMITED, an Ohio
  27   Limited Liability Entity; and ROES 1-5,
  28               Counterdefendants.


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   1         Having reviewed Defendants’ Opposition, Plaintiff hereby submits its Reply
   2   in support of its Motion for Attorney’s Fees (the “Motion”). 1,2
   3   I.    INTRODUCTION.
   4         Contrary to Defendants’ absurdly vitriolic Opposition, the only “absolute mess”
   5   here is their own bad faith and deceptive conduct, along with the nonsensical legal and
   6   factual positions that they and their counsel have forced Plaintiff and the Court to
   7   address throughout this entire case. Unsurprisingly, such bad faith conduct has
   8   continued in their recent Opposition, in which they have not only relied upon baseless
   9   positions that were previously rejected by this Court and/or the Jury, but have made at
  10   least two provably false statements to this Court.
  11         First, unbelievably, Defendants falsely assert that Plaintiff failed to meet and
  12   confer pursuant to Local Rule 7-3 before filing the instant Motion. This is a flat out
  13   lie (and is notably unsupported by any declaration from Defendants’ counsel). As
  14   Defendants’ counsel Brian Kinder is well-aware, Plaintiff’s counsel met and
  15   conferred regarding the instant Motion on three separate occasions. See
  16   concurrently filed Declaration of David B. Jonelis (“Jonelis Decl.”), ¶4 and Notice
  17   of Errata. Indeed, Defendants’ meet and confer argument is particularly ironic
  18   given that Mr. Kinder himself has a well-documented history of failing to meet and
  19   confer with Plaintiff’s counsel before filing prior motions in this case (and was even
  20   admonished by the Court for such failure [Dkt. 37 at p. 4]).
  21         Second, in what is likely an attempt to justify the weakness in their argument,
  22   Defendants’ falsely claim that they had only seven days to respond to the instant
  23
       1
  24     Unless otherwise indicated, capitalized terms used herein have the same definitions
       as in Plaintiff’s Motion.
  25   2
         Defendants filed no opposition to Plaintiff’s concurrently filed Motion for
  26   Discretionary Costs (in which Plaintiff seeks to recover its trial graphics costs).
       Consequently, Defendants have effectively conceded Plaintiff’s entitlement to these
  27   costs.
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   1   Motion. This is also a flat out lie. Defendants had ten days to respond, yet chose to
   2   file their Opposition three days early.
   3         Despite Defendants’ frantic and unpersuasive attempt to convince this Court
   4   that, notwithstanding Plaintiff having effectively obtained a complete victory in this
   5   case, Plaintiff is somehow entitled to nothing in fees, such a position is unreasonable,
   6   unsupported, and unjust. The attorneys’ fees sought here are entirely reasonable,
   7   recoupable as a matter of law, and, quite frankly, well-deserved given the outcome of
   8   this case in Plaintiff’s favor. Accordingly, Plaintiff respectfully requests this Court to
   9   grant the instant Motion in its entirety.
  10   II.   DEFENDANTS HAVE FAILED TO DEMONSTRATE ANY BASIS FOR
  11         DENYING PLAINTIFF’S MOTION, AND THEREFORE PLAINTIFF IS
  12         ENTITLED TO AN AWARD OF ATTORNEYS’ FEES IN THE
  13         REASONABLE AMOUNT OF $321,895.
  14         In their Opposition, Defendants find themselves grasping at straws to prevent
  15   Plaintiff from recovering its reasonable attorneys’ fees. As shown below, each and
  16   every one of the purported “issues plaguing Plaintiff’s Motion” (Opposition at 1:12)
  17   are either premised on bold-faced lies, misstatements of fact and law, or both.
  18         A.     Defendants and Their Counsel Have Knowingly Misrepresented
  19                Facts Concerning The Meet and Confer Process And Their Deadline
  20                To File The Opposition.
  21         From the outset, unsurprisingly, Defendants take a provably false position
  22   concerning the parties’ meet and confer process. Defendants’ assertion that no meet
  23   and confer conversation ever took place is as absurd as it is appalling. Admittedly,
  24   Plaintiff inadvertently failed to include in its Notice of Motion the requisite two line
  25   statement, pursuant to Local Rule 7-3, that “This motion is made following the
  26   conference of counsel pursuant to L.R. 7-3 which took place on (date).” See
  27   concurrently filed Notice of Errata. However, it is indisputable that counsel for the
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   1   parties did in fact meet and confer regarding the instant motion no less than three
   2   times. See Jonelis Decl., ¶4.
   3          Counsel for Plaintiff spoke with Defendants’ counsel by telephone on three
   4   separate occasions – on June 7, June 8, and June 15, 2018. Jonelis Decl., ¶4 and
   5   Notice of Errata. All three of these conversations took place at least seven days prior
   6   to when the instant Motion was filed.
   7          During the June 7 and June 8 phone conversations with Defendants’ counsel,
   8   Plaintiff’s counsel repeatedly informed Defendants’ counsel that Plaintiff would be
   9   timely seeking its fees and costs because it had prevailed on its contract and
  10   infringement claims (and its defenses to all of Defendants’ counterclaims). Jonelis
  11   Decl., ¶ 5. Further, Plaintiff’s counsel (1) disclosed the amount of fees and costs that
  12   Plaintiff would be seeking and (2) advised Defendants’ counsel of Plaintiff’s position
  13   as to why Defendants’ conduct in the litigation was unreasonable and in bad faith,
  14   warranting fees under the Copyright Act and Lanham Act. Jonelis Decl., ¶ 5.
  15          During the June 8 conversation, Defendants’ counsel informed Plaintiff that
  16   Defendants would prefer not to litigate the issue of attorneys’ fees and costs, and that
  17   he would be calling Plaintiff’s counsel to discuss a potential settlement that could
  18   avoid the filing of the instant Motion. Jonelis Decl., ¶ 6.
  19          During the June 15 conversation, Defendants’ counsel reiterated that
  20   Defendants would prefer not to litigate the issue of fees and costs. However, because
  21   Defendants’ counsel was not able to propose any reasonable settlement or resolution,
  22   Plaintiff’s counsel informed Defendants’ counsel that Plaintiff would be proceeding
  23   with its Motion. Jonelis Decl., ¶7.
  24          Thus, Defendants’ contention that there was no meet and confer is an outright
  25   lie.
  26          Defendants also falsely contend in the Opposition that that they had “only 7
  27   days to oppose [the] motion.” To the contrary, because the hearing on the Motion is
  28   not until July 23, 2018, Defendants had until Monday, July 2 (i.e., 21 days before
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   1   July 23) to timely file their Opposition pursuant to Local Rule 7-9. This was ten
   2   days after the June 22 filing date of the Motion.3 Defendants nevertheless chose to
   3   file their Opposition three days early. The fact that Defendants have now raised their
   4   own apparent error in calculating the filing deadline as a basis to deny the Motion is
   5   outrageous, and further demonstrates the absurdity and bad faith of the their entire
   6   position.
   7         It is unfortunate that Plaintiff has now had to incur further fees refuting two
   8   provably false arguments by Defendants. Indeed, Defendants’ meet and confer
   9   argument is particularly outrageous given the well-documented fact that Defendants’
  10   counsel Brian Kinder previously failed on two prior occasions to comply with Local
  11   Rule 7-3 in this case (including in connection with Defendants’ Motion in Limine to
  12   exclude two of Plaintiff’s key witnesses from trial), and was even admonished by the
  13   Court for such failure. [See, e.g., Dkt. 37 at p. 4, Dkt. 100 at pp. 2-8].
  14         Simply put, Plaintiff fully complied with its meet and confer obligation, and
  15   Defendants’ position here is yet another example of unreasonable and bad faith
  16   conduct. Such conduct should not be condoned.
  17         B.     Defendants Have Once Again Rehashed Their Frivolous Argument
  18                That Grumpy Beverage Is Not a Party to This Action.
  19         As the Court is well aware, Defendants’ argument that Grumpy Beverage is
  20   somehow not a party to this action (simply because it intervened after the filing of
  21   Plaintiff’s Complaint) has been rejected by this Court on two separate occasions.
  22   [See Dkt. 148 at fn. 2]. And yet Defendants have nevertheless rehashed this baseless
  23   argument as a purported ground for denying the Motion, wasting everyone’s time in
  24   the process (and forcing Plaintiff to incur further recoverable fees).
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  26   3
        Defendants have also had notice of the Motion since at least the initial June 7 meet
  27   and confer discussion amongst the parties.
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   1         As this Court has already made clear, there is absolutely no law supporting
   2   Defendants’ position. Defendants again cite to no law in support of their position, but
   3   still dedicate over a page of argument in their Opposition (void of any legal support
   4   whatsoever) in an effort to undermine this Court’s prior rejections of this premise. For
   5   the third time, Grumpy Beverage’s position is absurd and contrary to the well-settled
   6   law that intervenors “enter the suit with the status of original parties and are fully
   7   bound by all future court orders.” United States v. State of Or., 657 F.2d 1009, 1014
   8   (9th Cir. 1981).
   9         C.     Plaintiff Is Entitled To Fees Under Both The Copyright Act and
  10                Lanham Act.
  11         It is telling that Defendants have failed to refute (much less even address) the
  12   fundamental example of their bad faith discussed in the Motion, which in and of itself
  13   demonstrates why an award of fees is warranted under the Copyright and Lanham
  14   Acts. More specifically, Defendants do not dispute, nor have they ever (at trial or
  15   otherwise) presented any evidence contradicting the fact that they and their counsel,
  16   Brian Kinder, knew before this action was even filed that the subject license
  17   agreement did not encompass anything beyond iced coffee. [Motion at pp.4-5].
  18   Indeed, evidence of Defendants’ knowledge in this regard was unequivocally
  19   presented at trial, both through Kia Kamran’s testimony and in Trial Exhibit 64 (in
  20   which Mr. Kinder made his after-the-fact proposal to remove the critical three words
  21   “a line of” from Section 1(b) of the subject agreement in order to expand its scope
  22   beyond iced coffee).
  23         Nevertheless, Defendants still forced Plaintiff to spend hundreds of thousands
  24   of dollars litigating the issue of iced vs. ground coffee. Defendants’ silence on this
  25   issue is telling, and effectively concedes the issue of their bad faith.
  26         The unreasonableness of Defendants’ position and the resulting outcome of the
  27   case justify an award of attorneys’ fees under the Copyright Act. As the evidence has
  28   shown, there has been nothing “reasonable” about Defendants’ position in this case.
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   1   Their entire position (like their assertions in the instant Opposition) has always been
   2   premised on numerous fallacies. It is uncontroverted that Defendants and their
   3   counsel were well-aware that they did not have the right to produce ground coffee
   4   under the License Agreement. The documentary evidence presented at trial as well as
   5   the testimony of Kia Kamran demonstrated that Defendants’ indisputably knew this
   6   fact and even admitted it, yet they insisted on suing Plaintiff for over $12 Million
   7   under a knowingly false legal theory.4
   8         Further, this case is, by definition, an “exceptional case” under the Lanham Act.
   9   Defendants’ statement that the case “clearly could have gone either way” is laughable.
  10   Opp. p. 5 [Dkt. 158]. The jury would not have awarded over $710,000 in damages -
  11   necessarily including a finding of willful trademark infringement - had the case been a
  12   “close call.” Rather, the jury not only found that Defendants infringed Plaintiff’s
  13   trademarks, but necessarily found that Defendants knew that their acts were outside
  14   the scope of the License Agreement and did it anyway. This willful infringement is,
  15   by definition, an example of an “exceptional case” under the Lanham Act. See
  16   Earthquake Sound Corp. v. Bumper Indus., 352 F.3d 1210, 1216 (9th Cir. 2003)
  17   (Within the meaning of Section 35, “exceptional” refers to cases where the defendant
  18   has acted “maliciously, fraudulently, deliberately and/or willfully”) (emphasis added).
  19   Indeed, this Court has previously found that a jury’s finding of willful infringement is
  20   “instructive” on the issue of awarding attorneys’ fees under the Lanham Act. See QS
  21   Wholesale, Inc. v. World Marketing, Inc., 2014 WL 12586120, at *14 (C.D. Cal. Jan.
  22   7, 2014).
  23

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       4
        Notably, Defendants assert that their position throughout this case was reasonable
  25
       because this Court previously found that the contract term was ambiguous on
  26   summary judgment. This is completely meaningless. The court ruled on summary
       judgment (in Plaintiff’s favor) before any evidence of Defendants’ knowledge and
  27
       admissions were presented at trial.
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   1         Separate and apart from the fundamental fallacy at the core of Defendants’
   2   position (i.e. that there was a reasonable dispute over iced vs. ground coffee when in
   3   fact Defendants were admittedly aware that the agreement only covered iced coffee),
   4   Defendants also forced Plaintiff and this Court to entertain a plethora of other
   5   disingenuous and/or ridiculous contentions throughout the tenure of this case,
   6   including without limitation the following:
   7                     Defendants have repeatedly contended (including in their
   8                      Opposition) that Grumpy Beverage is not subject to liability
   9                      simply because it intervened after Plaintiff’s complaint was filed,
  10                      despite the fact that this contention runs counter to well settled law
  11                      and Defendants have cited no authority for their position.
  12                     Defendants fabricated a nonexistent fiduciary relationship between
  13                      the parties (a notion that the Jury rejected outright) by
  14                      characterizing a standard license agreement as a “joint venture”
  15                      between the parties.
  16                     Defendants absurdly contended at trial that Plaintiff somehow
  17                      committed fraud by appearing on Fox News to promote the subject
  18                      iced coffee product at Defendants’ own request.
  19                     Defendants asserted, for the first time at trial, that Plaintiff
  20                      somehow “blew the launch” of the subject iced coffee product and
  21                      caused $12 million in damages simply by posting on Plaintiff’s
  22                      social media a picture of the subject iced coffee product that had
  23                      been sent to Plaintiff by Defendants themselves (and that
  24                      Defendants had already posted on their own social media).
  25                     Defendants falsely testified at trial that they had never previously
  26                      seen a Deadline.com article that refuted their entire theory of fraud
  27                      concerning a “Grumpy Cat” movie featuring Will Ferrell and Jack
  28                      Black. However, they were then forced to admit the truth when
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   1                       confronted with their own, previously unproduced, text messages
   2                       showing that they did in fact read the article when it came out.
   3                      Defendants presented an “expert witness” who was nothing more
   4                       than a mouthpiece for Paul Sandford, and who relied completely
   5                       on Mr. Sandford’s own inflated and self-serving sales projections
   6                       in reaching a damages calculation of $12 Million.
   7         Enough is enough.
   8         D.     Apportionment Would Be Meaningless And Ineffective Here.
   9         As an initial matter, Defendants’ assertion that a “prevailing party in a case
  10   involving Lanham Act and non-Lanham Act claims can recover attorney’s fees only
  11   for time spent litigating the Lanham Act claims” (Opposition at 7:21-23) completely
  12   misses the mark. Such an assertion would be true if Plaintiff had no basis for seeking
  13   attorneys’ fees for its other claims at trial. However, Plaintiff brought three claims
  14   against Defendants at trial, and prevailed on all three. Each claim had its own
  15   statutory and/or contractual basis for awarding attorney’s fees. Apportionment of
  16   non-Lanham Act claims would be a useless exercise. Indeed, to the extent that any
  17   fees were incurred in connection with Plaintiff’s ultimately unsuccessful
  18   cybersquatting claim, such fees (by Defendants’ own admission) were negligible at
  19   best and were also incurred alongside fees spent on non-cybersquatting matters.5
  20         To be clear, the contract and infringement claims asserted in this case were so
  21   inextricably intertwined that apportionment would be meaningless. See SAS v.
  22
  23
       5
         While Defendants attempt to cherry pick certain time entries that reference
  24   “cybersquatting,” even a cursory review of those same time entries demonstrate that
  25
       the time was also spent on non-cybersquatting issues. For example, notwithstanding
       Defendants’ deceptive claim that 2.0 hours were spent on November 8, 2016 in
  26   connection with drafting a cybersquatting claim, the actual time entry reflects time
       also spent on Plaintiff’s successful motion to dismiss Defendants’ first amended
  27   counterclaim. [See Dkt. 57, Dkt. 63].
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 1   Sawabeh Information Services Co., 2015 WL 12763541, *15 (C.D. Cal.) (holding that
 2   apportionment of fees between Lanham Act and state law claims was “not necessary,
 3   as the claims are so inextricably intertwined that an estimated adjustment would be
 4   meaningless”). In particular, this entire case effectively boiled down to one
 5   fundamental question – Did Defendants exceed the scope of the License
 6   Agreement? This question was not only at the core of the parties’ respective breach
 7   of contract claims, but it was also the lynchpin to resolving the issue of infringement.
 8   See, e.g., Ticketmaster L.L.C. v. RMG Technologies, Inc., 507 F.Supp. 2d 1096, 1107
 9   (C.D. Cal. 2007) (“Use of a work in excess of a license gives rise to liability for
10   copyright infringement”); Dkt. 128 at Instruction 33 (instructing the jury to find
11   trademark infringement if Defendants used Plaintiff’s marks “in a way that fell
12   outside the scope of the license agreement”). The Jury eventually answered the
13   question with a resounding “Yes,” finding that Defendants not only breached the
14   subject agreement but also committed copyright and trademark infringement by
15   exceeding the scope of the agreement. Thus, any apportionment of the fees here
16   would be arbitrary and nonsensical, as each of the subject claims required a
17   determination of the same fundamental core issue.
18         Furthermore, in making their misguided apportionment argument, Defendants
19   have completely mischaracterized the number, nature, and outcome of the various
20   claims asserted in this action. As shown by the chart below, of the nine non-
21   abandoned causes of action that Defendants brought against Plaintiff in this case,
22   Defendants lost all nine claims. In other words, Defendants’ rate of success on their
23   own claims was zero percent. In stark contrast, Plaintiff prevailed on one hundred
24   percent of its own causes of action at the jury trial, and merely failed to prevail on a
25   single post-jury claim of cybersquatting that was tangential to the fundamental issues
26   here and which (by Defendants’ own admission) necessitated only a few hours of fees.
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 1         Party        Claim                                   Outcome
 2     1   Defendants   Declaratory Judgment Of Trademark       Plaintiff Prevailed
 3                      Non-Infringement                        [Dkt 148]
 4                      [Dkt. 39]
 5     2   Defendants   Declaratory Judgment Of Copyright       Plaintiff Prevailed

 6                      Non-Infringement                        [Dkt 148]
                        [Dkt. 39]
 7
 8
       3   Defendants   Reverse Domain Name Hijacking           Plaintiff Prevailed
 9
                        [Dkt. 39]                               [Dkt. 51]
10
       4   Defendants   Intentional Misrepresentation           Plaintiff Prevailed
11
                        [Dkt. 39]                               [Dkt. 131]
12
       5   Defendants   Negligent Misrepresentation             Plaintiff Prevailed
13
                        [Dkt. 39]                               [Dkt. 131]
14
       6   Defendants   Breach of Fiduciary Duty                Plaintiff Prevailed
15
                        [Dkt. 39]                               [Dkt. 131]
16
       7   Defendants   Breach of Contract                      Plaintiff Prevailed
17                      [Dkt. 39]                               [Dkt. 131]
18     8   Defendants   Breach of the Implied Covenant of Good Plaintiff Prevailed
19                      Faith and Fair Dealing                  [Dkt. 131]
20                      [Dkt. 39]
21     9   Defendants   Declaratory Judgment Of Trademark       Abandoned by
22                      Ownership [Dkt. 39]                     Defendants
23     10 Defendants    Declaratory Judgment Of Copyright       Abandoned by
24                      Ownership [Dkt. 39]                     Defendants
25     11 Defendants    Declaratory Judgment Of Domain Name Abandoned by
26                      Ownership [Dkt. 39]                     Defendants
27     12 Defendants    Intentional Interference With           Abandoned by

28                      Contractual Relations                   Defendants
                                    10
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 1           Party          Claim                                        Outcome
 2                          [Dkt. 39]
 3       13 Defendants      Intentional Interference With                Abandoned by
 4                          Prospective Economic Advantage               Defendants
 5                          [Dkt. 39]

 6       14 Plaintiff       Copyright Infringement                       Plaintiff Prevailed

 7
                            [Dkt. 1]                                     [Dkt. 131]
         15 Plaintiff       Trademark Infringement                       Plaintiff Prevailed
 8
                            [Dkt. 1]                                     [Dkt. 131]
 9
         16 Plaintiff       Breach of Contract                           Plaintiff Prevailed
10
                            [Dkt. 1]                                     [Dkt. 131]
11
         17 Plaintiff       Trademark Dilution                           Abandoned by
12
                            [Dkt. 1]                                     Plaintiff
13
         18 Plaintiff       Accounting                                   Abandoned by
14
                            [Dkt.1]                                      Plaintiff
15
         19 Plaintiff       Cybersquatting                               Defendants
16
                            [Dkt. 1]                                     Prevailed
17
                                                                         [Dkt. 51]
18
           E.     Plaintiff’s Fees and Rates are Entirely Reasonable.
19
           Defendants have completely failed to demonstrate how the fees requested here
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     are excessive in any way.6 The requested fees are remarkably low and represent
21
     significantly discounted rates. Indeed, these rates are well within the range that this
22
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     6
      Once again, Defendants use smoke and mirrors, claiming that Plaintiff’s fees are
     excessive because Plaintiff utilized “eight time keepers” over the course of a two-
25   year case. This characterization is completely disingenuous. Of the approximately
     883 hours expended on this case, 854 of those hours came from just two primary
26   attorneys – David B. Jonelis and Jake A. Camara. An additional 15 hours were
27
     expended by the firm’s former associate who was staffed on the case prior to Mr.
     Camara’s involvement, Lindsay Molnar.
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 1   Court has previously found to be reasonable. See, e.g., QS Wholesale, supra, 2014
 2   WL 12586120, at *15.
 3         This case consisted of over two years of litigation, and required Plaintiff to not
 4   only prove up its own claims, but also to defend against malicious counterclaims
 5   seeking over $12 million. Indeed, Defendants’ counterclaims threatened the very
 6   existence of Grumpy Cat Limited.
 7         Plaintiff’s attorney’s fees of just $321,895 for two years of litigation and a 5-
 8   day jury trial are miniscule in comparison to fees previously awarded by this Court
 9   and the Ninth Circuit. See, e.g., QS Wholesale, supra, 2014 WL 12586120, at *17
10   (this Court previously awarded $1,826,035.40 in prevailing party attorney’s fees after
11   a jury found willful infringement under the Lanham Act); Wall Data Inc. v. Los
12   Angeles County Sheriff’s Department, 447 F.3d 769, 787 (9th Cir. 2006) (affirming
13   $516,271 in prevailing party attorney’s fees under the Copyright Act following a four
14   day jury trial resulting in only $210,000 in total damages); Perfect 10, Inc. v.
15   Giganews, Inc., 847 F.3d 657, 674-676 (9th Cir. 2017) (awarding $5,213,117 in
16   prevailing party attorneys’ fees under Copyright Act).
17         Thus, there should be no legitimate dispute as to the reasonableness of
18   Plaintiff’s attorneys’ fees.
19         F.     Plaintiff Produced Comprehensive Time Records.
20         Not only did Plaintiff’s Motion summarize the entirety of the work performed
21   in this case (Motion at pp.8-9), but Plaintiff provided copies of the actual invoices
22   themselves. While an attorney’s testimony summarizing the work performed may in
23   and of itself be sufficient, Plaintiff went above and beyond and attached the detailed
24   time records as prima facie evidence of the work performed. See Martino v. Denevi,
25   182 Cal.App.3d 553, 559 (1986) (“Testimony of an attorney as to the number of hours
26   worked on a particular case is sufficient evidence to support an award of attorney’s
27   fees, even in the absence of detailed time records”).
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 1          Although Defendants attempt to fault Plaintiff for redacting its time records,
 2   those redactions were necessary to protect attorney-client privileged and/or work
 3   product information, as required by the California Rules of Professional Conduct.
 4   Surely, Defendants are not contending that privileged and work product information
 5   should have been disclosed to the Court? Nevertheless, at the request of this Court,
 6   Plaintiff is willing to provide un-redacted versions of the invoices for in camera
 7   review.
 8   III.   CONCLUSION
 9          For over two years, Defendants have presented this Court with a dishonest,
10   knowingly false legal position concerning the core issue of iced vs. ground coffee.
11   The dishonesty was finally exposed at trial, resulting in the Jury reaching a verdict
12   completely in Plaintiff’s favor (and the Court rejecting Defendants’ subsequent
13   attempt to reverse the jury’s verdict by seeking a declaration of non-infringement).
14   Now, Defendants and their counsel have again presented further dishonesty to this
15   Court. While Defendants may find themselves in an understandably desperate
16   position, that does not excuse their bad faith conduct. Despite Defendants’ tactics, the
17   facts are clear: Defendants’ position throughout this litigation was knowingly false
18   and objectively unreasonable. As the evidence showed, Defendants and their counsel
19   knew their position was false and knew it was unreasonable. Plaintiff has endured
20   over two years of litigation and incurred over $300,000 in fees. Plaintiff respectfully
21   requests that it be allowed to recover the full amount of fees that it seeks in the instant
22   Motion.
23
                                             Respectfully submitted,

24   Dated: July 9, 2018            LAVELY & SINGER, P.C.
25
                                    David B. Jonelis
                                    Jake A. Camara
26                                  By: /s/ Jake A. Camara
27
                                          JAKE A. CAMARA
                                    Attorneys for Plaintiff and Counter-Defendant
28                                  GRUMPY CAT LIMITED
                                       13
                     REPLY ISO MOTION FOR ATTORNEY’S FEES
